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 1                                                                              Judge Leighton
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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT TACOMA
 9   UNITED STATES OF AMERICA,                               )
                                                             )
10                              Plaintiff,                   )       NO. CR05-5158RBL
                                                             )
11                     v.                                    )       [PROPOSED] ORDER
                                                             )
12   MICHAEL J. SHANAHAN,                                    )
                                                             )
13                              Defendant.                   )
                                                                 )
14
              Having reviewed the parties’ Stipulated Motion for Protective Order, in order to
15
     assist defense counsel analyze the government’s tax loss figures in the above-entitled case
16
     and to comply with the provisions of 26 U.S.C. § 6103, the Court hereby:
17
              (1) DIRECTS the government to produce to counsel Judith M. Mandel, counsel for
18
     defendant Michael J. Shanahan, IMF Transcripts, tax returns, IRS Revenue Agent
19
     Reports, and other items (hereinafter referred to collectively as “the materials”) contained
20
     in the IRS files of individuals who the government alleges purchased trust packages from
21
     the defendants;
22
              (2) ENJOINS any individual, including defendant Shanahan and counsel, from
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     disclosing the materials to third parties not before the Court; copying the materials; or
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     removing the materials from counsel’s and standby counsel’s office; and
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     Protective Order (U.S. v. Shahanan, CR05-5158RBL) - 1                                  UNITED STATES ATTORNEY
                                                                                            1201 PACIFIC AVENUE, SUITE 450
                                                                                             TACOMA, WASHINGTON 98402
                                                                                                    (253) 593-6316
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 1            (3) ORDERS counsel to return the materials to the United States Attorney’s Office
 2   for the Western District of Washington immediately upon completing her representation
 3   of the defendant.
 4


                                                             A
                       IT IS SO ORDERED this 15th day of August, 2005.
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 6                                                           RONALD B. LEIGHTON
                                                             UNITED STATES DISTRICT JUDGE
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     Protective Order (U.S. v. Shahanan, CR05-5158RBL) - 2                               UNITED STATES ATTORNEY
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                                                                                          TACOMA, WASHINGTON 98402
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